 

 

UNTI`ED STATES DISTRICT COURT
EASTERN DISTRICT OF NORTH CAROLINA
NORTHERN DIVISION

SAVE OUR SOUND OBX, INC.;
THOMAS ASCHMONEIT; RICHARD
AYELLA; DAVID HADLEY;

MARK HAINES; JER MEHTA; and
GLENN STEVENS,

Plaintiffs,

v. JUDGMENT
NORTH CAROL]NA DEPARTl\/[ENT OF
TRANSPORTAT[ON; JAMES H.
TROGDON, III, in his official capacity as
Secretary of the North Carolina
Depaitment of Transportation; FEDERAL
HIGHWAY ADM[NISTRATION; and
JOI-IN F. SULLIVAN, III, in his official
capacity as Division Administrator for the
Federal Highway Administration,

No. 2:17-CV-4-FL

Defendants,
and
DEFENDERS OF WILDLIFE; and

NATIONAL W]LDL[FE REFUGE
ASSOCIATION,

\/\/\/\/\/VVVVVVVVVVVVVVVVVVVVVVVV

lntelVenor-Defendants.
Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge_, for
consideration of plaintiffs’ motion for preliminary injunction, defendants’ motion to dismiss for lack
of jurisdiction, intervenor-defendants’ motion to dismiss for failure to state a claim and motion to
dismiss for lack of jurisdiction, plaintiffs’ motion for summary judgment and defendants’ and
intervenor-defendants’ motions for summaiy judgment

IT IS ORDERED, ADJUDGED AND DECREED in accordance with the court’s orders entered
August 30, 2017, March 30, 2018, and June 4, 2018, and for the reasons set forth more specifically
therein, that plaintiffs’ motion for preliminaiy injunction is denied, defendants’ motion to dismiss
for lack of jurisdiction is denied, intervenor-defendants’ motion to dismiss for failure to state a claim

 

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and motion to dismiss for lack of jlu‘isdiction is denied, plaintiffs’ motion for summary judgment
is denied, and defendants’ and intervenor-defendants’ motions for summary judgment are granted

This Judgment Filed and Entered on June 4, 2018, and Copies To:
Michael K. Mui'phy (via CM/ECF Notice of Electronic Filing)
Zia C. keanOatley (via CM/ECF Notice of Electronic Filing)

Scott T. Slusser (via CM/ECF Notice of Electronic Filing)

Colin Justice (via CM/ECF Notice of Electronic Filing)

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C arter Fleeth Thunnan (via CM/ECF Notice of Electronic Filing)
Neal Fowler (via CM/ECF Notice of Electronic Filing)

Derb S. Carter, Jr. (via CM/ECF Notice of Electronic Filing)
Kimberley Hunter (via CM/ECF Notice of Electronic Filing)
Nicholas S. Torrey (Via CM/ECF Notice of Electronic Filing)

June 4, 2018 PETER A. MOORE, JR., CLER_K

/s/ Susan W. TriDD
(By) Susan W. Tlipp, Deputy Clerk

 

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